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 4   Telephone: (916) 498-5700
 5
 6   Attorney for Defendant
     JUAN SANCHEZ MEDINA
 7
 8
 9                          IN THE UNITED STATES DISTRICT COURT
10                         FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12
13   UNITED STATES OF AMERICA,       )       No. 2:09-CR-0355 FCD
                                     )
14                  Plaintiff,       )       STIPULATION AND ORDER
                                     )       CONTINUING STATUS CONFERENCE
15        v.                         )       AND EXCLUDING TIME
                                     )
16   JUAN SANCHEZ MEDINA and         )
     BENITO CANUTO GUERRERO,         )       Date: August 23, 2010
17                                   )       Time: 10:00 a.m.
                    Defendants.      )       Judge: Hon. Frank C. Damrell, Jr.
18                                   )
     _______________________________ )
19
20
21         IT IS HEREBY STIPULATED AND AGREED between plaintiff, United States
22   of   America,   and    defendants,   Juan   Sanchez   Medina   and   Benito   Canuto
23   Guerrero, that the status conference scheduled for August 23, 2010, may
24   be continued to August 30, 2010, at 10:00 a.m.
25         Counsel for all parties have met and anticipate having final plea
26   agreements ready prior to the August 30 status conference.             The parties
27   agree that time under the Speedy Trial Act should be excluded from the
28   date of this order through the status conference on August 30, 2010,
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 1   pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv), so that the agreements
 2   may be finalized, reviewed, and signed.
 3                                             Respectfully submitted,
 4                                             DANIEL J. BRODERICK
                                               Federal Defender
 5
 6   Dated:    August 19, 2010                 /s/ T. Zindel
                                               TIMOTHY ZINDEL
 7                                             Assistant Federal Defender
                                               Attorney for JUAN SANCHEZ MEDINA
 8
 9   Dated:    August 19, 2010                 /s/ T. Zindel for D. Koukol
                                               DAN KOUKOL
10                                             Attorney for BENITO CANUTO GUERRERO
11                                             BENJAMIN B. WAGNER
                                               United States Attorney
12
13   Dated:    August 19, 2010                 /s/ T. Zindel for T. Leras
                                               TODD LERAS
14                                             Assistant U.S. Attorney
15
16                                        O R D E R
17         The status conference is continued to August 30, 2010, at 10:00 a.m.
18   Time under the Speedy Trial Act is excluded through that date for the
19   reasons stated above and by agreement of the parties, the Court finding
20   that the ends of justice to be served by a continuance outweigh the best
21   interests of the defendant and the public in a speedy trial.
22         IT IS SO ORDERED.
23
24   Dated:    August 20, 2010
                                            _______________________________________
25                                          FRANK C. DAMRELL, JR.
                                            UNITED STATES DISTRICT JUDGE
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     Stip. & Order                             2
